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                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re:                                                  §                      Chapter 11
                                                            §
    Talen Energy Supply, LLC, et al,1                       §               Case No. 22-90054-MI
                                                            §
              Debtors.                                      §                Jointly Administered


                   LEAR CORPORATION’S OBJECTION TO DEBTORS’
             MOTION FOR ENTRY OF AN ORDER AUTHORIZING REJECTION OF
              EXECUTORY CONTRACTS NUNC PRO TUNC TO PETITION DATE


             Lear Corporation (“Lear”) files this Objection to Debtors’ Motion for Entry of an Order

Authorizing Rejection of Executory Contracts Nunc Pro Tunc to Petition Date2 (the “Motion”).

             1.     Debtors filed voluntary petitions for relief under Chapter 11 of Title 11 of the

United States Bankruptcy Code (the “Code”) on May 10, 2022 (“Petition Date”). Debtors

continue to operate their businesses as debtors in possession.

             2.     Lear operates a manufacturing facility in Pine Grove, Pennsylvania that supplies

products to automotive and other industries. As part of its efforts to manage its substantial energy

requirements, on or about December 5, 2019, Lear entered into a Retail Electricity Agreement (the

“Lear REA”) with one of the Debtors, Talen Energy Marketing, LLC (“Talen”), under which

Talen agreed to provide electric supply to Lear at its Pine Grove facility at a pre-determined price

for a period of 36 months (from January 1, 2020 through December 31, 2022).




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    A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtor’s claims and
    noticing agent at https://cases.ra.kroll.com/talenenergy. The Debtors’ primary mailing address if 1780 Hughes
    Landing Boulevard, Suite 800, The Woodlands, Texas 77380.
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    ECF No. 15.


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       3.      In the Motion, Debtors seeks to reject hundreds of what it identifies as “Retail

Purchase Agreements” and “Retail Broker Agreements” nunc pro tunc to the Petition Date,

including the Lear REA.

       4.      Despite the fact that the Motion was clearly prepared in advance of Debtors’

bankruptcy filing and that Debtors clearly engaged in pre-bankruptcy negotiations and discussions

with many of their creditors, based upon investigation to date, it appears that Debtors did not

contact or provide any notice to Lear of their intention to seek rejection of the Lear REA. Upon

information and belief, Debtors also provided no advance notice to any of the hundreds of other

customers whose contracts they seek to reject in the Motion. Instead, Debtors filed their Motion

on the first day of these bankruptcy proceedings and now seek equitable relief in the form of

retroactive rejection nunc pro tunc to the Petition Date. Such relief is inappropriate when

balancing the equities.

       5.      Debtors could have provided a reasonable notice of their intent to retroactively

reject the various contracts but failed to do so. Such notice would have allowed the counterparties,

including Lear, to locate the best possible alternative source for providing electric utility services

and to mitigate their damages, which, in the current market will result in significant increased costs

for Lear and hundreds of other customers. Additionally, Debtors’ own actions created the basis for

Debtors’ purported necessity for retroactive relief. Therefore, the Court should reject Debtors’

request for nunc pro tunc rejection.

       6.      As of the Petition Date, the Lear REA provides for Lear to receive electrical

services from Talen at significantly below the current market prices. Upon information and belief,

based upon information set forth in the objections filed by Richards Energy Group, Inc. and URA,

Inc. (ECF No. 342) and Masonic Villages of the Grand Lodge of Pennsylvania and Conestoga



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Wood Specialties Corp. (ECF No. 344): (a) Debtors purchased electricity to fulfill their obligations

under the Retail Purchase Agreements under hedge contracts, which allowed Debtors to purchase

the electricity at below current market prices (the “Hedge Contracts”); (b) Debtors sold their

Hedge Contracts prior to the bankruptcy filing at a significant profit and distributed the proceeds

of the sale of the Hedge Contracts to an affiliated, non-Debtor entity; (c) Debtors’ sale of the Hedge

Contracts resulted in Debtors’ inability to provide the electricity services under the Retail Purchase

Agreements and to fulfill their obligations under the Retail Broker Agreements without incurring

losses; (d) Debtors have now asked this Court to allow them to reject and terminate the various

agreements because they cannot provide the electricity services without incurring losses, a problem

caused by Debtors’ own actions in selling the Hedge Contracts at a significant profit; and (e)

Debtors have made a significant profit in the selling of the Hedge Contracts and now seek to force

the customers to pay for that profit by incurring the dramatically increased prices for electricity.

       7.      The result of the rejection of the various agreements is to force each of the

customers, to purchase electricity in the short term from the applicable utility at its current rate,

and longer term from other suppliers at current market rates, each of which will result in

dramatically increased unbudgeted costs to each of the customers, including Lear.

       8.      Although Lear acknowledges that Chapter 11 debtors generally may exercise their

right to reject executory contracts as a matter of their business judgment, retroactive relief should

not be permitted under these circumstances. Rather, the proposed rejection of the Lear REA should

not become effective until sufficient notice has occurred and Lear has time to identify a

replacement supplier of electricity, and to negotiate a new contract with such a supplier in an

orderly manner.




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        9.      A retroactive rejection date will severely harm Lear; whereas, providing a wind-

down opportunity of at least sixty (60) days from the date of an order approving rejection would

allow Lear time to mitigate its potential damages by shopping for a new energy supply contract,

so there is a seamless transition, rather than an automatic reversion back to the current, non-

contracted, market rates from the default electric utility.

        10.     Lear reserves all rights and remedies, including but not limited to the right to file

further Objections to any amended Motion, a Motion for Allowance of Administrative Expense

Claim for all post-petition, pre-rejection damages, as well as a Proof of Claim for rejection

damages.

        WHEREFORE, Lear respectfully requests that the Court deny Debtors’ Motion to Reject

Nunc Pro Tunc, and instead enter an order making the effective date of rejection of the Lear REA

at least sixty (60) days after the date of the Order.


        Dated: June 3, 2022                     Respectfully submitted,

                                                BODMAN PLC


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                                 CERTIFICATE OF SERVICE


        The undersigned certifies that on June 3, 2022, a copy of this Objection was served
electronically on all parties registered to receive electronic notice of filings in this case via this
Court’s ECF notification system.


                                               /s/ Robert J. Diehl, Jr.
                                               Robert J. Diehl, Jr.




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